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NAHSY MAYEH "~NWWNG.TDN, GLEK

UNITED STATES DISTRICT COURT u&e£m$jmmm

FOR THE DISTRICT OF COLUMBIA

 

NATIONAL AIR TRAFFIC CONTROLLERS
`ASSOC:AT:ON, AFL¢G:O,

1325 MaSSachuSettS AV@, N.W.
Washinqton, D.C.-20005

and
_ n Civil Acticn NO.
PROFESSIONAL AIRWAYS SYSTEMS \:
SPECiaL:STS, AFL-CIO, -
1150 17th Stréet’ N_W`r - CSS_E HUMBER 1:{§§€¥@3133
Suite 702 JUDGEz aa$&mary nn collyer

Washinqtcn, D.C. 20036 4 rv _
- DELK rfPE: Adainistrative Agency Revie&

Plalntkff$' nara graMP= 91/30/2094

VS.

FEDERAL SERVICE IMPASSES PANEL
1400 K Street N.W.
Washinqtcn, D.C.'20424

and

FEDERAL LABOR RELATIONS AUTHORITYJ

_ 1400 K Street, N.W.

Washingtcn, D.C. 20424

Defendants.

 

COMPLAINT
lEIBQQH§ILQH
The Plaintiff federal labor crganizaticns, the Nati©nal Air
Traffic COntrcllers Asscciationl AFL~CIO and the Professional
Airways Systems Specialists, AFL~CIO, file this Complaint Seekinq
declaratory and injunctive relief to r€médy the January 9, 2004
decisions cf the Federal Service ImpaSSe Panel, by which tha

Panel requed to “prcvide Service$ and assistance” to NATCA and

 

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§ASS “in the resolution of” their collective bargaining impasses
with the Federal Aviation Administration. The FSIP’s decisions
are contrary to the specific provisions of the Panel’s mandatory
jurisdiction under 5 UiS.C. §§7119(a} and (c)(§), exceed the
Panel’s statutory authority, leave in place the continuing
collective bargaining impasses between the FAA, NATCA and PASS,
deprive affected employees of their statutory right to engage in
collective bargaining, and deny Plaintiffs any administrative
recourse or remedy. l
NATURE, JURISDICTION, VENUE

1. This civil action is brought by the National Air Traffic
Controllers Association, AFL-CIO (“NATCA”) and the Professional
Airways Systems Specialists, AFL-CIO (“PASS”) for declaratory and
injunctive relief to remedy the refusal of the Federal Service
lmpasses Panel (“FSIP” or “the §anel”) to adhere to its
affirmative statutory obligation to resolve the existing impasses
in collective bargaining negotiations between the Federal
Aviation Administration (“FAA”), NATCA and PASS, as required by 5-
U.S.C. §7119.

2. The Court has subject matter jurisdiction over this
action pursuant to 28 U.S.C. §1337.

3. Venue of this action properly lies in the United States
District Court for the District of Columbia pursuant to 29 U.S.C.

§1391(e).

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PARTIES

4. Plaintiff NATCA is a labor organization within the
meaning of 5 U.S.C. §7103(a)(4), representing approximately
16,000 employees of the FAA, including over 1,800 employees in
eleven (11) bargaining units: Notice to Airman (“NOTAM”) Office
Specialists; Budget and Financia1 Analysis Specialists; Logistic,
Finance, Accounting and lnformation Services Engineers (Oklahoma
City and Atlantic City); Automatic Specialists; Aerospace Medical
Nurses; FAA Airports Decision employees, FAA Aircraft
Certification Decision employees, Regional Counsel Offices
employees, Air Worthiness Engineers (Oklahoma City); and Drug
Abatement Specialists.

5. Plaintiff PASS is a labor organization within the
meaning of 5 U.S.C. §7103(a)(4), representing approximately
11,000 FAA employees_including, inter alia, some 4,000 FAA
employees in four (4)`bargaining units: Flight Standards;
Aviation Standards; Manufacturing lnspection District Office; and
AFS-700 employees.

6. Defendant Eederal Labor Relations Authority'(“FLRA” or
“the Authority”) is an Agency of the United States government,
established by Congress under 5 U.S.C. §7104(a) for the purpose,
inter alia, of affording “protection of the right of [federal]
employees to organize, bargain collectively, and participate

through labor organizations of their own choosing in decisions

 

 

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which affect them,..” 5 U;S.C. §7101{a).

7. Defendant FSIP is “an entity within the {FLRA],”
established under 5 U.S.C. §TllQ(c)(l) for the purpose, inter
alia, of “providfing] services and assistance to agencies and
exclusive representatives in the resolution of negotiation
impasses.” 5 U.S.C. §7119(a); if federal agencies and unions
reach an impasse in collective bargaining negotiations, the
Panel’s statutory direction is to recommend procedures and to
take whatever action it deems necessary to resolve the impasse.
Id1

BACKGROUND

S. On July 8, 2003, NATCA filed a formal request for the
FSlP's assistance, notifying the Panel that an “impasse” had been
reached in its collective bargaining with the FAA in the eleven
(11) bargaining units described in paragraph 4 above, and
identifying the specific subjects of bargaining over which the
“impasse” had occurred (Case No. 03 FSIP 144).

9. On various dates in duly 2003, PASS filed formal
requests for the FSIP’s assistance, notifying the Panel that an
“impasse” had been reached in its collective bargaining with the
EAA in the four (4) bargaining units described in paragraph 5
above, and identifying the specific subjects of bargaining over
which the “impasse” had occurred{Case Nos. 03 FSIP 149, 150, 151`

and 157).

 

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10. Rather than participate in the resolution of the
existing impasses in collective bargaining with NATCA and PASS
through the dispute resolution procedures of the FSIP, the FAA
filed two Statements of Position with the Eanel, both dated
September 22, 2003, objecting to the Panel taking any action and
arguing that certain legislation reorganizing the FAA (49 U.S.C.
§§ 41022 and 106) had, by implication, divested the FSIP of
jurisdiction over collective bargaining between the FAA, NATCA
and PASS.

11. The FSIP thereafter solicited legal positions from the
parties and, on January 9, 2004, issued companion decisions with
respect to the pending requests for assistance by NATCA and PASS.
Exhibits A, B. In each case, the FSIP “decline[d] to assert

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jurisdiction,” on the basis that, in the Panel’s view, ...it is

unclear whether the Panel has authority to resolve the parties'
impasse.” Exhibit A (p.l); Exhibit B (p.l). The Panel concluded
each decision with the caveat that

this determination to decline to_assert

jurisdiction is made without prejudice to the

right of either party to file another request

for assistance if the underlying threshold

question is resolved in the appropriate forum

consistent with the Union’s lnterpretation of

the applicable statutory provisions.
Exhibit A(p.é); Exhibit B(p.4).

JURISDICTION OF THE FEDERAL SERVICE IMPASSE PANEL

12. Under its governing statute, the FSIP “shall provide

 

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assistance to agencies and exclusive representatives in resolving

negotiation impasses” (5 U.S.C. §§7119(a)), “shall promptly

investigate any impasse presented to it... (5 U.S.C. §7119(c)
(5)(A)),” and then “shall... either... recommend to the parties
procedures for the resolution of the impasse; or... assist the

parties in resolving the impasse through whatever methods and
procedures... it may consider appropriate to accomplish the
purpose of this section.” 5 U.S.C. §§7119(c)(5)(A)(i),{ii).

13. The FSIP's governing statute, 5 U.S.C. §7119, does not
afford the Panel with any discretion to decline to provide
assistance on an ad hoc basis at the insistence of either party
where, as here, the parties have reached an “impasse” in their
collective bargaining negotiations.

14j Neither of the statutes cited by the FAA as
justification for its objections to the FSIP’s exercise of its
authority in these matters, 49 U.S.C. §§ 40122, 106 (relating to
a new FAA personnel management system implemented in April 1996),
makes any reference to the FSIP or to its impasse resolution
processes, much less do either of these statutes expressly remove
collective bargaining between the FAA and the labor organizations
representing its employees from the Panel’s statutory
jurisdiction. To the contrary, 49 U.S.C. §40122(g)(2)(c}
expressly confirms that “chapter Tl, relating to labor management

relations” continues to govern the new FAA personnel management

 

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system, and_the subsequent enactment of 49 U.S.C. §106(1)
expressly preserved the applicability of “subsection( ) .,.(g) of
Section 40122.¢.,” as an exception to the authority of FAA's
Administrator “... to fix the compensation of [FAA] officers and
employees...”

15. N_arca, PAss ana the affected rim employees in the
bargaining units referred to above have been and continue to be
injured by Ehe FSIP's continuing refusal to “promptly
investigate” the existing impasses in collective bargaining
negotiations and “assist the parties in resolving [their]
impasse[s]," which impasses have continued since at least July
2003. 5 U.S.C. §§7119(c)(5)(A)(i),(ii).

16. The FLRA does not entertain direct appeals of final
decisions of the FSIP, and the Panel’s decisions are subject to
review by the FLRA solely in the context of an unfair labor
practice proceeding precipitated by a party’s refusal to comply
with a decision of the Panel. Accordingly, there is no
administrative review available to NATCA and PASS with respect to
the FSIP’s refusal to undertake to resolve the existing impasses
in their collective bargaining negotiations with the FAA. Absent
declaratory and injunctive relief, Plaintiffs are without any
adequate remedy at law.

COUNT ONE

17. Plaintiffs hereby reallege and incorporate by reference

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herein the allegations in paragraphs 1~16 above.

18. The FSIP’s decisions of January 9, 2004, by which the
Panel refused to act to resolve the impasses in bargaining
between the FAA, NATCA and PASS, violate the specific and
mandatory provisions of the Panel’s governing statute, 5 U.S.C.
§7119.

19. The FSIP’s refusal to act to resolve the continuing
impasses in collective bargaining negotiations between the FAA,
NATCA and PASS exceeds the Panel's statutory authority under 5
U.s.c. §7119.`

20. The FSIP’s refusal to act to resolve the continuing
impasses in collective bargaining negotiations between the FAA,
NATCA and PASS denies the FAA employees in the affected
bargaining units their statutory right to engage in collective
bargaining under 5 U.S.C. §§ 7101, 7116, 711? and 7119.

PRAYER FOR REL IEF

WHEREFORE, Plaintiffs NATCA and PASS urge that the Court to:

l. Declare, pursuant to 28 U.S.C. §2201, that the FSIP’s
decisions of January 9, 2004 are in violation of specific
provisions of the Panel’s statutory authority;

2. Declare, pursuant to 28 U.S.C. §2201, that the FSlP's
decisions of January 9, 2004 exceed the FSIP’s jurisdiction under
5 0.8.€. §5119;

3. Declare, pursuant to 28 U.S.C. § 2201, that the FSIP’s

 

 

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decisions of January 9, 2004 deprive NATCA, PASS and affected FAA
employees of their statutory right to engage in collective

bargaining in violation of 5 U.S.C. §§ 7101 et seg.;

4. Order the ESIP to proceed forthwith to resolve the
existing impasses in collective bargaining negotiations between
the FAA, NATCA and PASS in accordance with 5 U.S.C. § 7119; and

j 5. Award such other and further relief to Plaintiffs as the
Court deems just and properr including their attorneys fees and
costs.

Respectfully submitted,

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Dated: January 30l 2004

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